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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


LAVERNE STEWARD
     Plaintiff,

v.                                                      CAUSE NO: 1:20-cv-3177


MENARD, INC.
    Defendant.

                             PETITION FOR REMOVAL OF ACTION

         Defendant, Menard, Inc. (“Menards”), by counsel, and for its Petition for Removal of

Action, states as follows:

         1.     On November 18, 2020, Plaintiff filed her Complaint for Damages against Menards

in the Hendricks County Superior Court 4, of Indiana under Cause Number 32D04-2011-CT-000200.

         2.     In her Complaint, Plaintiff alleges that on August 20, 2020, she was an invitee on

the Menards’ premises when she slipped and fell, causing her injuries and damages.

         3.     Plaintiff alleges that she sustained damages as a result of an incident at a Menards’

store.

         4.     Plaintiff is a citizen of the State of Indiana.

         5.     Defendant Menards is incorporated under the laws of the State of Wisconsin with

its principal place of business in Eau Claire, Wisconsin.

         6.     Defendant contends that this cause is removable under 28 U.S.C. § 1332 and none

of the impediments to removal under 28 U.S.C. § 1445 are present in this action.

         7.     Defendant certifies that to the best of its knowledge, information and belief, the

amount in controversy exceeds $75,000.00, exclusive of interest and costs, as Plaintiff's Complaint




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has an open prayer for damages and alleges that Defendant breached its duty to Plaintiff causing

Plaintiff to incur “permanent injuries” and “medical expenses and other special expenses, and will

incur future medical expenses, lost wages and other special expenses.” Additionally, Plaintiff’s

counsel was consulted and was unable to stipulate that Plaintiff’s damages do not exceed

$75,000.00.

       8.      Defendant Menards was served with Plaintiff's Complaint by certified mail on

November 23, 2020.

       9.      This Petition for Removal is being filed with the Court within thirty (30) days after

determining that the basis for diversity jurisdiction exists.

       10.     Copies of all pleadings filed in the state court action that are in the possession of

Defendant Menard, Inc. are attached as “Exhibit A”.

       11.     Contemporaneously, a written notice is being provided to all adverse parties and to

the Clerk of the Hendricks County Superior Court that this Petition of Removal is being filed in

this Court.

       WHEREFORE, Defendant, Menard, Inc., prays that the entire state court action pending

in the Hendricks County Superior Court 4 of Indiana, under Cause Number 32D04-2011-CT-

000200, be removed to this Court for all further proceedings.

       Dated: December 11, 2020.


                                               Respectfully Submitted,

                                               KOPKA PINKUS DOLIN PC


                                               By: /s/Jessica N. Hamilton
                                                    Jessica N. Hamilton (#34268-71)
                                                    Attorney for Menard, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 11th day of December, 2020, the foregoing
has been electronically served on the following counsel of record:

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